Case 6:24-cv-01118-JSS-UAM       Document 51    Filed 06/18/25   Page 1 of 3 PageID 275




               UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF FLORIDA
                     ORLANDO DIVISION
 KEISHA MULFORT,

       Plaintiffs,

 v.                                            Case No. 6:24-CV-1118-JSS-EJK

 STATE OF FLORIDA – OFFICE
 OF THE STATE OF ATTORNEY FOR
 THE NINTH JUDICIAL CIRCUIT, AND
 ANDREW A. BAIN, IN HIS OFFICIAL
 CAPACITY AS STATE ATTORNEY

     Defendants.
 ___________________________

                     PLAINTIFF’S MOTION TO REOPEN CASE

       Plaintiff, KEISHA MULFORT, by and through her undersigned counsel,

 hereby files this Motion to Reopen Case for the reasons set forth below:

                              SUPPORTING FACTS

       1.     The Parties reached an agreement to fully resolve this matter.

       2.     Pursuant to Local Rule 3.08(a), Plaintiff filed a notice of settlement

 on April 19, 2025. (Doc. 48).

       3.     Per this Court’s order entered on April 21, 2025, the Parties were

 directed to file either a stipulation of dismissal or move to reopen the case, upon

 good cause (Doc. 49).

       4.     Pursuant to the terms of the Settlement Agreement and General

 Release, payment of the settlement proceeds was due on or about June 2, 2025.
Case 6:24-cv-01118-JSS-UAM        Document 51     Filed 06/18/25   Page 2 of 3 PageID 276




       5.      As of the date of this motion, Defendant has failed to make timely

 payment.

       6.      Plaintiff asserts that this is a result of the State’s processes and not in

 any way a matter of bad faith.

       7.      Accordingly, Plaintiff respectfully requests that the Court reopen this

 matter permitting time to collect the settlement proceeds.

                             MEMORANDUM OF LAW

       When an act may or must be done within a specified time, the Court may,

 for good cause, extend the time with or without motion or notice if the court acts,

 or if a request is made, before the original time or its extension expires. Fed. R. Civ.

 P. 6(b)(1).

       The instant motion is brought before the expiration of the deadline for the

 Parties to file a stipulation of dismissal. Plaintiff respectfully suggests that cause

 has been shown for relief sought herein.

       WHEREFORE, the Plaintiff moves for an entry of an order reopening the

 matter permitting time to collect the settlement proceeds.

               Certificate of Compliance with Local Rule 3.01(g)

       The undersigned has conferred with counsel for Defendant regarding this

 motion. Defendant’s counsel has indicated he opposes the relief sought herein.




                                         2
Case 6:24-cv-01118-JSS-UAM       Document 51      Filed 06/18/25   Page 3 of 3 PageID 277




       Dated this 18th day of June 2025.

                                          Respectfully submitted,


                                          /s/ Steven G. Wenzel
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                                          Attorneys for Plaintiff

                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 18th day of June 2025, I electronically

 filed the foregoing with the Clerk of the Court by using the CM/ECF which will

 send a notice of electronic filing to counsel for all parties.


                                          /s/
                                          STEVEN G. WENZEL




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